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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
UNITED STATES OF AMERICA,                 )
                                          )
                  Plaintiff,              )
                                          )
            v.                            )  Civil Action No. 1:20-cv-01580
                                           )
JOHN R. BOLTON                             )
                                           )
                  Defendant.               )
                                           )
                                           )

                                STIPULATION OF DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the parties stipulate to

dismissal of this action, with prejudice, all parties to bear their own fees and costs.

Dated: June 16, 2021                                  Respectfully submitted,

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